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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE CORPORATION FOR PUBLIC                   )
BROADCASTING,                                )
     401 Ninth St., NW                       )
     Washington, DC 20004                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case No. 1:25-cv-0740 (TJK)
                                             )
THE FEDERAL EMERGENCY                        )
MANAGEMENT AGENCY,                           )
     500 C Street, SW                        )
     Washington, DC 20472                    )
                                             )
and                                          )
                                             )
CAMERON HAMILTON, in his Official            )
Capacity as Senior Official Performing       )
the Duties of the FEMA Administrator,        )
       500 C Street, SW                      )
       Washington, DC 20472                  )
                                             )
       Defendants.                           )
       .                                     )

                     PLAINTIFF’S REPLY BRIEF IN SUPPORT OF ITS
                    MOTION FOR A TEMPORARY RESTRAINING ORDER

       Unable to justify its unlawful and arbitrary freezing of appropriated funds for the

Corporation for Public Broadcasting (“CPB”) to reimburse expenses for the Next Generation

Warning System (“NGWS”) that were incurred with FEMA’s approval, FEMA now pretends that

such a hold never happened and is not continuing. In its opposition brief, it contends that “there

has been no withholding of funding” despite the undisputed evidence that for close to the last 30

days and counting, FEMA has prevented and continues to prevent CPB from having access to the


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PARS portal to submit any of the $1.94 million in incurred expenses under the grant. CPB has

been prevented since February 19, 2025 from submitting any reimbursement request despite CPB

outreach to FEMA, as well as numerous temporary restraining orders and preliminary injunctions

issued by federal courts, including this court, directing FEMA “to continue releasing any

disbursements on open awards that were paused due to OMB Memorandum M-25-13.” 1 See

National Council of Nonprofits v. Office of Management and Budget, 2025 WL 597959, *19-20

(D.D.C. Feb. 25, 2025) (emphasis added); New York v. Trump, 2025 WL 715621 (D. R.I. March 6,

2025).

         FEMA urges the Court to accept the remarkable argument that its “hold,” which prohibits

CPB from submitting requests for the reimbursement of incurred expenses under the NGWS Grant,

is materially different than a “pause,” a “freeze” or a “withholding.” This, of course, is somewhere

between nonsensical and Orwellian and, unsurprisingly, happens also to be belied by the plain

meanings of the words. More fundamentally, the reality is that CPB and about twenty of the forty-

two sub-awardees who purchased specialized equipment at FEMA’s direction and with its approval

have had payments for allowable costs withheld for nearly thirty (30) days, no longer have any

way of submitting reimbursement requests, and there is no with no end in sight in direct violation

of the Uniform Guidance. See 2 C.F.R. § 200.305 (“Payments for allowable costs must not be




1
  FEMA’s declaration from Mr. Hamilton, which provides no specific information relating to the
NGWS Grant, remarkably contends that FEMA was “unaware” until March 5, 2025 that PARS
was not allowing awardees to access the system and submit reimbursements. See Hamilton Decl.
¶27. However, CPB’s General Counsel, on February 20, 2025, sent a letter directly to FEMA,
FEMA’s Chief Counsel, the General Counsel of DHS, and FEMA’s program managers for the
NGWS Grant informing them that PARS was on “hold” and expressly demanding that “its access
to funding under the grant award be immediately restored under PARS.” See Mintz Decl. Ex. F.
Further, despite Mr. Hamilton contending that PARS would be “functional” on or about March 14,
2025, CPB is still unable to access PARS to submit any reimbursements. See Exhibit 7 - Suppl.
Mintz Decl. at ¶¶1-8.
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withheld at any time during the period of performance”) (emphasis added) and § 200.305(b)(3)

(“The Federal agency…must make payment within 30 calendar days after receipt of the payment

request”).

       In the wake of numerous federal injunction orders against FEMA and other agencies

regarding the unlawful withholding of appropriated funds for pre-existing federal grants and

programs, FEMA also now - close to three (3) years after the award of the NGWS Grant - suddenly

seeks to unilaterally impose a new condition on the reimbursement of incurred expenses under the

NGWS Grant, namely an undefined “manual review” process to ensure that payment does not, in

FEMA’s view, “promote fraud, waste, and abuse.” See Hamilton Decl. ¶2. FEMA’s latest position

is suffused with arbitrariness and capriciousness, including a fundamental failure to offer a

reasoned rationale for this change that is grounded in the operative facts relating to this grant or

setting forth the specific criteria that will be used to determine whether FEMA will accept a

reimbursement or deny it outright.

       Glaringly, despite this lawsuit being narrowly focused on a single grant, FEMA fails to

offer this Court any declaration from FEMA’s numerous project managers actually involved in

overseeing or administering the NGWS Grant or any of the numerous FEMA officials who have

been closely working with CPB in reviewing and approving the very equipment and expenses

incurred by CPB and its sub-awardees for the NGWS Grant. There is reason for this. For close to

three years, FEMA has been intimately involved every step of the way in terms of the specific sites

receiving new emergency broadcast equipment, creating a FEMA pre-approved equipment list,

receiving monthly and quarterly reports on the expenses incurred and the progress of the grant.

See Exhibit 8 - Slavitt Decl. ¶¶4-8.

        Not only does FEMA fail to offer any evidence supporting even the hint of any concern of

potential “fraud, waste, and abuse” in the NGWS program given its intimate involvement, the
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undisputed evidence is that it does not exist. Moreover, given the sheer volume of information

provided and reviewed by FEMA before and after equipment is purchased by any sub-awardee,

the notion that FEMA now must conduct a “manual review” of reimbursement requests is a

transparent effort to continue the unlawful freeze on the draw down of appropriated funds by

arbitrarily denying reimbursement requests using unidentified criteria.

       Regardless of its motivations, FEMA’s unilateral and post-hoc attempt to impose new

conditions -- close to three years after award -- on the payments to CPB and its forty-two sub-

awardees for expenses incurred under the NGWS Grant is arbitrary and capricious given that it:

(i) violates 2 C.F.R. § 200.208 and 2 C.F.R. § 200.300; (ii) lacks any factual record evidence that

there is even a concern of “fraud, waste, and abuse” in the NGWS program; (iii) is completely

devoid of any explanation or rational basis as to why a new “manual review,” with completely

unidentified criteria, is necessary as to the specific NGWS program given that FEMA knows full

well what equipment is being purchased, knows that it is being purchased from FEMA’s approved

equipment list, and knows why it is being purchased and (iv) disregards the substantial reliance

interests that CPB and its sub-awardees have been operating under for close to three years.

       Put bluntly, there is no expense for the NGWS Grant program that is incurred without

FEMA’s express knowledge and approval, underscoring the completely arbitrary nature of FEMA’s

undefined “manual review process” as it relates to the NGWS Grant. Despite FEMA’s argument

to the contrary, the equitable relief CPB seeks is narrow and straight-forward: (1) order FEMA to

restore the PARS system so that CPB can actually submit requests for reimbursements, which it

has been trying to do for close to thirty days; and (2) order FEMA to promptly review and process

those requests according to the established standards under the Uniform Guidance and the NOFO,




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not some undefined and unwarranted “manual review” process where FEMA’s review criteria are

completely unknown and arbitrary. 2

                                           ARGUMENT

I.      FEMA’s Disabling Of PARS To Block The Submission Of Reimbursement Requests
        And The Unilateral Imposition Of A “Manual Review” Process Are Final Agency
        Actions

        In opposing CPB’s motion, FEMA relies on the same argument that federal courts have

repeatedly rejected when dealing with the fall-out from agencies freezing appropriated funds

as a result of the Office of Management and Budget (OMB) Memo M-25-13, dated January 27,

2025. See National Council of Nonprofits, 2025 WL 597959 at *13; Trump, 2025 WL 715621 at

*8-9.

        As the judge noted in National Council of Nonprofits, final agency action must mark the

consummation of the agency’s decision-making process and determine the rights and obligation

from which legal consequences flow.” Id. at *13 (ruling that pause on federal finance assistance

was a final agency action). When an agency shuts off the ability to access funding, it marks the

“consummation of each agency’s decision-making process to comply with the President’s

executive order, the OMB Directive, or both.” Trump, 2025 WL at *8. Indeed, as the Trump Court

noted, the plaintiffs found themselves dealing with the very real impact on their rights and

obligations based on the funding freeze:

        States found themselves unable to draw down appropriated and awarded funding
        because they were completely shut out from accessing federal payment portals such
        as the Payment Management Services.

2
  Given FEMA’s continuing hold on its PARS portal, its refusal to respond to the letter from CPB’s
General Counsel’s letter on February 20, 2025 asking for an explanation of its conduct, its
unilateral imposition close to three years after award of a “manual review” process that surfaces
only after numerous courts enjoined the OMB-ordered funding freeze does not give confidence
that FEMA will end its continued arbitrary practice by denying reimbursement requests based on
completely unidentified criteria in an effort to otherwise achieve a continued freeze of appropriated
funds.
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Id. Indeed, FEMA has conceded in other litigation that it froze access to funding because of the

OMB Memorandum. See City of New York v. Trump, 1:25-cv-015010 (S.D.N.Y.) (ECF Doc. 17)

(FEMA’s Opposition to plaintiff’s motion for preliminary injunction at pp. 6-7).

       Here, CPB, like the plaintiffs in Trump and National Council of Nonprofits, is facing an

agency that has affirmatively taken action to remove access to the appropriated funds. It is firmly

established that for nearly thirty days, FEMA has prevented and continues to prevent CPB from

accessing the NGWS Grant funds despite CPB’s outreach and resolution attempts, and numerous

federal injunctions. In addition, FEMA has unilaterally decided more than two years after the

NGWS Grant to impose new conditions on the right to reimbursement, which determines the rights

and obligations from which legal consequences flow. As has been found by the other courts to

have considered similar funding holds, this is final agency action.

II.    FEMA’s Decision Close to Three Years After Award of the NGWS Grant To CPB To,
       Without Notice, Unilaterally Impose A “Manual Review” Process To Purportedly
       Prevent Fraud, Waste and Abuse Is Arbitrary And Capricious

       As this Court is well aware, numerous federal courts, including this one, entered temporary

restraining orders and preliminary injunctions arising from FEMA and other agencies freezing

access to appropriated funds for pre-existing grants and programs. For example, Judge AliKhan

in National Council of Nonprofits, 2025 WL 597959 at *19-20 ordering that:

       Defendants are enjoined from implementing, giving effect to, or reinstating under
       a different name the unilateral, non-individualized directives in OMB
       Memorandum M-25-13 with respect to the disbursement of Federal funds under all
       open awards; it is further

       ORDERED that Defendants must provide written notice of the court's preliminary
       injunction to all agencies to which OMB Memorandum M-25-13 was addressed.
       The written notice shall instruct those agencies that they may not take any steps
       to implement, give effect to, or reinstate under a different name the unilateral,
       non-individualized directives in OMB Memorandum M-25-13 with respect to the
       disbursement of Federal Funds under all open awards.

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         It shall also instruct those agencies to continue releasing any disbursements on
         open awards that were paused due to OMB Memorandum M-25-13…

Id. (emphasis added). The federal court in Trump entered a virtually identical order.

         In the wake of those orders, FEMA now seeks to “give effect to and reinstate under a

different name” the freezing of appropriated funds by unilaterally extending to itself an undefined

“manual review” process by which it can reject reimbursements that it deems to “promote fraud,

waste, and abuse” based on completely unidentified criteria. FEMA’s latest position is suffused

with arbitrary and capriciousness.

         It is “a fundamental requirement of administrative law . . . that an agency set forth its

reasons for decision; an agency’s failure to do so constitutes arbitrary and capricious agency

action.” Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (“conclusory

statements will not do; an agency’s statement must be one of reasoning”). As Judge AliKhan made

clear:

         To pass muster, the agency “must examine the relevant data and articulate a
         satisfactory explanation for its action[,] including a ‘rational connection between
         the facts found and the choice made.’ Agency action is generally deemed unlawful
         if it “has relied on factors which Congress has not intended it to consider, entirely
         failed to consider an important aspect of the problem, offered an explanation for
         its decision that runs counter to the evidence before the agency, or is so
         implausible that it could not be ascribed to a difference in view or the product of
         agency expertise.

National Council of Nonprofits, 2025 WL 597959 at *14 (emphasis added) (“The touchstone of

this inquiry is rationality, and the Defendants’ actions flunk that test”). Here, there is no evidence

that FEMA considered any relevant data relating to the NGWS Grant. Nor, has FEMA offered any

evidence of the existence of a “problem” – namely fraud, waste and abuse in the administration of

the NGWS Grant - - requiring agency action. There is good reason for this.




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       As set forth in the accompanying declaration of Evan Slavitt, Senior Vice-President and

General Counsel of CPB, who also serves on the Executive Team that interacts directly with FEMA

in connection with the NGWS Grant:

           •   Since the award of the NGWS Grant and at every stage of this process, CPB has
               kept FEMA fully informed of the status of the sub-awards, the proposed equipment
               purchases by each sub-awardee, the purpose of each piece of equipment and why it
               is necessary for the enhancement or modernization of the emergency alert system.

           •   As part of the NGWS Grant, FEMA must undertake an Environmental Planning
               and Historic Preservation study (“EHP”) as to each site. In order to complete EHP
               studies, as to each site, FEMA must know in advance, among other things, precisely
               what equipment is planned to be purchased for each site and the budget for each
               project and its cost, which is provided by CPB before any equipment purchases are
               made. Indeed, sub-awardees cannot proceed until FEMA has an approved EHP
               study.

           •   FEMA has created a pre-approved equipment list that each sub-awardee must
               purchase from.

See Slavitt Decl. ¶¶4-8.

       Moreover, FEMA appointed two program managers to work closely with CPB on the

NGWS Grant: Manny Centeno, the IPAWS Director, and Tony Robles, IPAWS NGWS Program

Manager. Since the inception of the grant, CPB’s NGWS team has collaborated with Mr. Robles

and his team during biweekly meetings to discuss:

           •   the total grant amounts for the sub-awardees;
           •   the aggregate totals of subgrant awards in each stage of the grant management
               pipeline.
           •   the number of projects at each stage of approval;
           •   the costs being incurred against the budget;
           •   rate at which CPB is planning to draw down reimbursements; and
           •   how much of the funding has been approved and awarded.

In addition to this information, pursuant to the NGWS Grant and 2 C.F.R. § 200.328 (Financial

Reporting) and § 200.329 (Monitoring and Reporting Program Performance), CPB provides

FEMA with quarterly Federal Financial Reports (SF-425) and Performance Reports as well as


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monthly progress reports. These reports detail the specific expenditures made by each sub-

awardee, what the expenses were for, the funding committed to each sub-awardee, the remaining

funding available under each sub-award, the status of specialized equipment purchases, the total

expended, and a summary of risks, issues or any areas of concerns. Id. at ¶¶5-6.

       Despite having this information, FEMA offers this Court no evidence of any kind to believe

there is waste, fraud or abuse with respect to this grant. This is because FEMA knows exactly

what pieces of specialized equipment are being purchased for each specific site, the budget for that

site, and how that impacts CPB’s need to draw down the grant funds to reimburse sub-awardees.

       Second, FEMA’s failure to articulate any rationale for its action is underscored by its failure

to explain why FEMA would need to now do a new “manual review” process when it and its

program directors have been conducting ongoing reviews and meetings with CPB, reviewing and

approving the sub-awardee equipment purchases and CPB’s expenses.

       Third, FEMA’s post-hoc imposition of a “manual-review” process for reimbursements is

also arbitrary because it violates 2 C.F.R. § 200.208 and 2 C.F.R. § 200.300. Specifically, in

managing a grant, an agency certainly must ensure that the funding is expended and implemented

in compliance with federal law and regulations. See 2 C.F.R. § 200.300. However, in doing so,

the Uniform Guidance requires that: “The Federal agency … must communicate to a recipient or

subrecipient all relevant requirements, including those contained in general appropriations

provisions, and incorporate them directly or by reference in the terms and conditions of the Federal

award.” Id. (emphasis added). Here, FEMA glaringly fails to articulate anywhere what criteria

will be used to determine that the reimbursements “do not promote fraud, waste and abuse.” By

now seeking to hold CPB and its sub-awardees to some unidentified criteria not set forth in the

NOFO or the Uniform Guidance, FEMA’s conduct is arbitrary and in violation of the regulations.

       Moreover, under 2 C.F.R. § 200.208, an agency can impose additional conditions on a
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grantee, but it must do so in compliance with the regulation, which provides:

       § 200.208 Specific conditions.
       (a) Federal agencies are responsible for ensuring that specific Federal award
       conditions and performance expectations are consistent with the program design
       (See § 200.202 and § 200.301).

       (b) The Federal agency or pass-through entity may adjust specific conditions in the
       Federal award based on an analysis of the following factors:

       (1) Review of OMB-designated repositories of government-wide data (for example,
       SAM.gov) or review of its risk assessment (See § 200.206);

       (2) The recipient's or subrecipient's history of compliance with the terms and
       conditions of Federal awards;

       (3) The recipient's or subrecipient's ability to meet expected performance goals as
       described in § 200.211; or

       (4) A determination of whether a recipient or subrecipient has inadequate financial
       capability to perform the Federal award.

Id.   Specific “conditions may include the following: (1) Requiring payments as

reimbursements rather than advance payments; (2) Withholding authority to proceed to the

next phase until receipt of evidence of acceptable performance; (3) Requiring additional or

more detailed financial reports; (4) Requiring additional project monitoring; (5) Requiring

the recipient or subrecipient to obtain technical or management assistance; or (6)

Establishing additional prior approvals.” Id.

       However, “[p]rior to imposing specific conditions, the Federal agency …must

notify the recipient or subrecipient as to:

       (1) The nature of the specific condition(s);

       (2) The reason why the specific condition(s) is being imposed;

       (3) The nature of the action needed to remove the specific condition(s);

       (4) The time allowed for completing the actions; and

       (5) The method for requesting the Federal agency … to reconsider imposing a
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       specific condition.

       (e) Any specific conditions must be promptly removed once the conditions that
       prompted them have been satisfied.

Id. Here, FEMA has not complied with any aspect of § 200.208 in seeking to impose its

unidentified “manual review” criteria on CPB.

       Fourth, FEMA’s intent to subject CPB to unidentified “manual review” criteria is also

arbitrary because it disregards the substantial reliance interests of CPB and its sub-awardees. As

this Court has noted, “[w]hen an agency suddenly changes course, it must recognize that

longstanding policies may have engendered serious reliance interests that must be taken into

account.” National Council of Nonprofits, 2025 WL 597959, at 15. Here, CPB and its sub-

awardees have operated in compliance with the NOFO and its terms and conditions along with the

Uniform Guidance in incurring expenses and submitting them for reimbursement. If FEMA is

now going to evaluate reimbursements under a different set of unidentified criteria against which

it can reject a reimbursement request despite having previously known about and authorized the

expenditure because it now considers the expense “wasteful,” then its actions are de facto arbitrary

and capricious given the extensive reliance by CPB and its awardees as set forth in the declarations.

III.   FEMA’s Arguments Regarding Irreparable Harm Ignore The Undisputed Record
       Evidence And The Controlling Law

       In addressing the issue of irreparable harm, FEMA once again raises arguments that have

already been rejected by federal courts dealing with the consequences of agencies freezing and

withholding appropriated funds for pre-existing grants and programs. Specifically, FEMA claims

that CPB is not entitled to injunctive relief because its harm is monetary. FEMA ignores the record

evidence and the pleadings in this case. CPB does not have a claim for monetary damages, nor

does it seek an order directing FEMA to pay the $1.94 million in incurred, but unreimbursed,



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expenses. Rather, it simply seeks an order setting aside an unlawful agency action that has caused

and continues to cause significant irreparable harm.

       As set forth in its motion and accompanying papers, CPB’s irreparable harm is multi-fold

and based on harm that is well-established as constituting irreparable harm. These include:

           1) FEMA’s actions frustrate CPB’s ability to accomplish its primary purpose to ensure
              the proper procurement of, and payment for, critical infrastructure for the national
              emergency alert system under the NGWS Grant. See League of Women Voters of
              United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016) (As a matter of law,
              “obstacles [that] unquestionably make it more difficult for [a plaintiff] to
              accomplish [its] primary mission … provide[s] injury for purposes [of] …
              irreparable harm.” ); Nat’l Institutes of Health, 2025 WL 702163 at *30 (“For
              essentially all of the Plaintiff institutions, there are myriad other immediate
              consequences that will make it harder to fulfill their purpose…. These
              consequences include the degradation of vital infrastructure, the loss of
              imperative staff necessary for research to be conducted”) (emphasis added);

           2) FEMA’s conduct creates a risk of irreparable harm by endangering the safety and
              lives of citizens who rely on the emergency alert system. FEMA and DHS have
              repeatedly publicly conceded that effective and timely “[e]mergency
              communications are critical to the Nation’s ability to respond to devastating natural
              disasters, terrorist threats, and other emergency events, incidents, and routine
              activities affecting our communities every day” and indeed, the communications
              are “life-saving.” See Mintz Decl. at ¶ 8; Trump, 2025 WL 715621, at *14; Nat’l
              Institutes of Health, 2025 WL 702163 at *30 (recognizing that negative impact on
              public health and safety, “the degradation of infrastructure” constituted irreparable
              harm favoring the issuance of injunctive relief);

           3) FEMA’s continued withholding of the NGWS Grant funds will irreparably harm
              CPB’s sub-awardees as FEMA’s conduct is creating ongoing liabilities for
              equipment that has been purchased by the sub-awardees that cannot be paid with
              general funds. Trump, 2025 WL 715621, at *13 (“[W]hen money is obligated and
              therefore expected (particularly money that has been spent and reimbursement is
              sought) and is not paid as promised, harm follows—debt is incurred, debt is unpaid,
              essential health and safety services stop[.]”).

           4) CPB has hired employees and a consulting firm for the specific purpose of assisting
              it and the sub-grantees in implementing and administering the NGWS Grant.
              Without the NGWS Grant funds, it is statutorily prohibited from paying those
              employees and that consulting firm out of general funds. See 47 U.S.C. § 396(k).
              If the situation is not immediately remedied, those employees will have to be
              furloughed, with no assurance that those employees will be available when and if
              access to the NGWS Grant funds are restored. See Mintz Decl. at ¶ 38; Trump,
              2025 WL 715621, at *14 (“Even a temporary pause in funding could require the
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               University to shutter or reduce programs…and to furlough and/or lay off
               employees”); Nat’l Institutes of Health, 2025 WL 702163 at *32 (“[T]he potential
               loss of human capital and talent to virtually every Plaintiff poses yet another harm
               incapable of run-of-the-mill legal relief”); Nat’l Council of Nonprofits, 2025 WL
               597959 at *6 and 10 (D. D.C. Feb. 25, 2025) (detailing organizations furloughing
               or laying off employees in response to funding freeze).

           5) FEMA’s hold on CPB’s access to the appropriated NGWS Grant funds has already
              damaged CPB’s reputation. AIDS Vaccine Advocacy Coalition, 2025 WL 752378,
              *19, fn. 19 (finding funding freeze damaged goodwill and reputation where
              plaintiffs had to “violate contractual duties by deferring payments to
              suppliers…,[there were] disruptions to relationships with longstanding partners
              whose trust had been cultivated over decades…and having to go back on previous
              assurances made to clients and partners in reliance on the agreements that have now
              been canceled”) (emphasis added); Nat’l Institutes of Health, 2025 WL 702163 at
              *31 (finding reputational harm caused by funding freeze undermined trust in
              plaintiffs who had to cut back or discontinue programs or clinical trials); Patriot,
              Inc. v. U.S. Dep't of Hous. & Urb. Dev., 963 F. Supp. 1, 5 (D.D.C. 1997) (holding
              that damage to reputation and goodwill with partners in the industry was an
              irreparable harm).

       In addition to ignoring the record evidence, FEMA ignores the controlling law holding that

injunctive relief that may result in the payment of money does not transform the requested relief

into money damages. See Bowen v. Massachusetts, 487 U.S. 879, 893 (1988) (in case concerning

agency’s refusal to reimburse the plaintiff, Court explaining that its cases “have long recognized”

that “[t]he fact that a judicial remedy may require one party to pay money to another is not a

sufficient reason to characterize the relief as ‘money damages.’ ”). As the court recognized in a

similar case where the plaintiffs sought an injunction where the government had frozen their access

to appropriated funds:

       Plaintiffs are not seeking compensation for their losses due to the failure to pay
       them, which, as in any contract case, could be far greater than the amount withheld
       pursuant to the agency policy; Plaintiffs seek only invalidation of the policy,
       including the withholding of payment that flowed from it.

AIDS Vaccine Advocacy Coalition v. United States Department of State, 2025 WL 752378, *8 (D.

D.C. March 10, 2025).



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       FEMA also takes the genuinely eyebrow-raising position that because CPB waited

approximately three weeks before filing suit, it should be barred equitable relief.          FEMA

conveniently ignores the fact that the “delay” was due to FEMA failing to respond in any way to

the letter CPB immediately sent on February 19, 2025 seeking information that would explain why

FEMA had shut down the PARS portal and precluded CPB from even submitting its requests for

reimbursement. FEMA also ignores that it changed the operative facts by issuing its general, non-

grant specific, notice on February 28, 2025 to all FEMA grantees that had to be understood and

taken into account. FEMA also ignores that during this time our federal courts were dealing with

a plethora of cases, including those against FEMA, arising from the multi-agency freezing of

federal funds and the resulting national chaos. Three weeks to prepare a complaint, gather

affidavits, and file motion papers is hardly undue delay, particularly when FEMA itself was being

less than transparent as to what it was doing as it related to the NGWS Grant and why it was doing

it. See Capitol Hill Baptist Church v. Bowser, 496 F. Supp. 3d 284, 302 (D.D.C. 2020) (granting

preliminary relief sought after six-month delay; “Church was not twiddling its thumbs during that

period”).

IV.    FEMA’s Argument That CPB’s Proposed Injunctive Relief Would “Bind The Agency
       To Reimburse Plaintiff Without Limitation” Is Untethered To The Actual Requested
       Grant-Specific Relief

       In its opposition brief, FEMA makes the untenable contention that: “[i]f granted, Plaintiff’s

relief would essentially bind the Agency to reimburse Plaintiff without limitation, restricting the

Agency’s ability to assess whether a reimbursement request was proper under the terms of the

award of the grant and to take any future actions to protect the public fisc or to ensure the

expenditure of funds is in the best interests of the United States.” (Opp. at p.9) (emphasis added).

CPB’s requested relief would do not such thing. CPB has merely requested that the status quo ante

be reinstated—allow CPB to submit its reimbursement requests.
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       As a threshold matter, the fact that FEMA wants the ability to reject reimbursement requests

under the NGWS Grant when it deems such expenditures to be “not in the best interest of the

United States” is a telling admission of FEMA’s intent to arbitrarily block, freeze, or otherwise

prevent the spending of appropriated funds. On this point, Congress has already determined year

after year that the spending of the NGWS Grant funds is in the best interests of the public - -

appropriating funds for NGWS grants for 2023, 2024, and most recently in the current proposed

budget. It is not FEMA’s role to determine whether NGWS grant expenditures are “in the best

interest of the United States.” Indeed, such a comment underscores the necessity of the actual

relief that CPB seeks: (1) an injunction requiring FEMA to actually make PARS functional again

to submit reimbursement requests; and (2) timely review those reimbursement requests against the

known and identified standards sets forth in the NOLO and the Uniform Guidance, not against

under some unknown and arbitrary criteria for whether the submission “promotes fraud, waste and

abuse” or, in FEMA’s judgement is “not in the best interests of the United States.”

       In addition, FEMA’s argument that CPB’s requested relief would “restrict[] the Agency’s

ability to assess whether a reimbursement request was proper” is untethered to the reality of what

has occurred over the last three years in terms of FEMA’s direct involvement every step of the way

in terms of the equipment being purchased, by which sub-awardees, for what sites, and at what

cost. Indeed, CPB has brought a grant-specific lawsuit dealing with only the 2022 NGWS Grant.

The universe of sub-awardees and the universe of incurred expenditures has been and continues to

be well-known to FEMA. Yet, FEMA -- even now -- tellingly fails provide this Court with any

affidavit laying out a grant-specific objection to any NGWS expense. This is because it has been

intimately involved in the process of CPB and sub-awardees incurring expenses for its benefit.

       The notion that CPB is somehow going to submit reimbursement for something other than

the specific equipment purchased by sub-awardees, CPB grant-related staff and consultant that
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FEMA has known about for years is risible and tellingly unsupported by any FEMA official

actually involved with the NGWS Grant. Indeed, it was precisely because CPB is the trusted

Congressionally-created steward of public funds for public media that DHS and FEMA recognized

that CPB was the only eligible applicant for the NGWS Grant.


                                        CONCLUSION

       For the foregoing reasons, Plaintiff the Corporation for Public Broadcasting requests that

the Court enter a temporary restraining order:

   •   directing FEMA to immediately remove the “hold” from its Payment and Reporting System
       (“PARS”) so that reimbursement requests can be submitted by CPB;

   •   directing FEMA to promptly process those submitted reimbursement requests for payment
       within 30 days of submittal in accordance with the terms the NWGS Grant, the Uniform
       Guidance, and federal law;

   •   enjoining FEMA and its officers, employees, and agents from taking any steps to
       implement, apply, or enforce the “hold” on the disbursement of appropriated funds for the
       NGWS Grant.




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                              Respectfully submitted,

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Date: March 16, 2025




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                               CERTIFICATE OF SERVICE

       I hereby certify that I caused one copy of the foregoing PLAINTIFF’S REPLY BRIEF IN

SUPPORT OF ITS MOTION FOR A TEMPORARY RESTRAINING ORDER, on all parties

and counsel of record via the Court’s CM/ECF system, as well as via USPS First Class Mail to

the addresses listed below.

THE FEDERAL EMERGENCY
MANAGEMENT AGENCY,
     500 C Street, SW
     Washington, DC 20472

and

CAMERON HAMILTON, in his Official
Capacity as Senior Official Performing
the Duties of the FEMA Administrator,
       500 C Street, SW
       Washington, DC 20472

                                           /s/ Jason W. McElroy




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